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    Exhibit 24
     Case 1:13-cv-08012-CM-DCF
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                                  72, 01/12/2016,
                                           111-1 1682459,
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                                                                  of 2 2 of 3



                                                                                      S.D.N.Y.-N.Y.C.
                                                                                           10-cv-4974
                                                                                           Sullivan, J.


                        United States Court of Appeals
                                              FOR THE
                                       SECOND CIRCUIT
                                       _________________

              At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 12th day of January, two thousand sixteen.

Present:
               Chester J. Straub,
               Debra Ann Livingston,
               Denny Chin,
                     Circuit Judges.

Gucci America, Inc., et al.,

                               Plaintiffs-Appellees,

               v.                                                           15-3850

Bank Of China,

                               Appellant,

Weixing Li, DBA Redtagparty, DBA Myluxurybags.com, DBA
Xpressdesginers.com, DBA Xpressdesigner.net, DBA Designer
Handbags, AKA Xin Li, DBA Kuelala.com, et al.,

                               Defendants.


Appellant moves for a stay of contempt sanctions pending appeal and for the Court to take judicial
notice of a letter from Chinese bank regulatory authorities. Upon due consideration, it is hereby
ORDERED that the motions are DENIED. Appellant has not demonstrated that it is entitled to a
stay. See McCue v. City of New York (In re World Trade Ctr. Disaster Site Litig.), 503 F.3d 167,
170 (2d Cir. 2007). The letter from Chinese bank regulatory authorities does not contain the sorts
of facts of which the Court can take notice. Fed. R. Evid. 201(b). Nothing in this order prevents
the regulatory authorities from moving for leave of court to file a brief amicus curiae. See Fed. R.
App. P. 29.
     Case 1:13-cv-08012-CM-DCF
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It is further ORDERED that, pursuant to Federal Rule of Appellate Procedure 2, this appeal shall
be heard on an expedited basis. The clerk of the court is accordingly directed to set an expedited
schedule for this matter.
                                            FOR THE COURT:
                                            Catherine O’Hagan Wolfe, Clerk




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